          Case 1:18-cv-08468-LGS Document 165 Filed 11/05/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
                                                              :
 ABBOTT LABORATORIES,                                         :
                                              Plaintiff,      :
                                                              :   18 Civ. 8468 (LGS)
                            -against-                         :    19 Civ. 600 (LGS)
                                                              :
 NANCY FEINBERG et al.,                                       :        ORDER
                                                              :
                                              Defendants. :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, each party has submitted their evidentiary objections to the opposing party’s

trial exhibits (Dkt. No. 160). Accordingly, it is hereby

        ORDERED that the following preliminary rulings are made with respect to the parties’

contested trial exhibits:

        (1) Documents subject to a hearsay objection, as to which no hearsay exception is

             offered, are excluded if offered for the truth of the matter asserted. See Fed. R. Evid.

             802; e.g., DX 5, DX 137, DX 143.

        (2) Documents subject to a hearsay objection but not subject to any authenticity

             objection, and prepared before January 1, 1992, are admissible under the hearsay

             exception for ancient documents. See Fed. R. Evid. 803(16); e.g., DX 78, DX 140,

             DX 95, DX 97, DX 175, DX 177, PX 1, PX 2, PX 15, PX 17-19, PX 27, PX 29, PX

             66 and PX 67. However, within such ancient document or other admissible

             document, any statement (implicitly or explicitly) by someone other than the preparer

             of the document that is offered for the truth of the matter asserted is excluded unless

             subject to another hearsay exception. See Fed. R. Evid. 805; e.g., DX 78, DX 140,
       Case 1:18-cv-08468-LGS Document 165 Filed 11/05/20 Page 2 of 2




         DX 95, DX 97, DX 160, DX 175, DX 177, PX 66, PX 67, PX 31, PX 81, PX 87, PX

         89 and PX 93.

      (3) Documents that appear to be offered not for the truth of the matter asserted are not

         hearsay and are not excludable on that basis. See Fed. R. Evid. 801(c); e.g., DX 50

         (showing offer & recommendation), DX 93 (showing offer and acceptance), DX 95

         (showing filing and nature of allegations) and DX 177 (showing offer & price).

      (4) Documents that are not authenticated and are subject to authenticity objections are

         excluded. E.g., DX 54 and DX 69.

      (5) PX 13 may be admitted, as Defendants’ objection to the notation goes to the weight

         of that evidence, not its admissibility.

      (6) The Court makes no ruling, preliminary or final, on the admissibility of DX 51, DX

         85, DX 91, DX 96 and DX 121 and reserves its ruling on the admissibility of these

         exhibits until during or after trial.

Dated: November 5, 2020
       New York, New York




                                                 2
